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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA, CRIMINAL NO. 10-CR-20123
Plaintiff, HON. VICTORIA A. ROBERTS
VS.
VIOLATIONS:

D-1| DAVID BRIAN STONE, a.k.a. “RD,” 18 U.S.C, § 2384

a.k.a. “Joe Stonewall,” a.k.a. “Captain Hutaree,” 18 U.S.C, § 2332a(a)(2)
D-2 DAVID BRIAN STONE, JR., a.k.a. “Junior,” 18 U.S.C. § 842(p)(2)
D-3 JOSHUA MATTHEW STONE, a.k.a. “Josh,” 18 U.S.C. § 924(c)(1)
D-4 TINA MAE STONE, 18 U.S.C. § 922(0)
D-5 JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,” 18 U.S.C. § 924(a)(2)

a.k.a. “Az,” a.k.a. “Mouse,” a.k.a. “Jason Z. Charles,” 26 U.S.C. § 5861(d)
D-6 MICHAEL DAVID MEEKS, a.k.a. “Mikey,” 26 U.S.C. § 5871
D-7 THOMAS WILLIAM PIATEK, Criminal forfeiture
D-8 KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,” allegations

D-9 JACOB J. WARD, a.k.a. “Jake,” a.k.a. “Nate,”
a.k.a. “Guhighlilo,”

Defendants.

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SECOND SUPERSEDING INDICTMENT;

THE GRAND JURY CHARGES THAT: es
GENERAL ALLEGATIONS
1. As used herein, the term “weapon of mass destruction” has the meaning set forth
in Title 18, United States Code, Section 2332a(c)(2), including any destructive device as defined
in Title 18, United States Code, Section 921(a)(4), that is, any explosive or incendiary bomb,
grenade, rocket having a propellant charge of more than four ounces, missile having an explosive

or incendiary charge of more than one-quarter ounce, mine, or similar device.
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2. As used herein, the term “machinegun” has the meaning set forth in Title 18,
United States Code, Section 921(23) and Title 26, United States Code, Section 5845(b), that is,
any weapon which shoots, is designed to shoot, or can be readily restored to shoot, automatically
more than one shot, without manual reloading, by a single function of the trigger.

3. As used herein, the term “improvised explosive device” (IED) means an explosive
device that is placed or fabricated in an improvised manner incorporating destructive, lethal,
noxious, pyrotechnic, or incendiary chemicals and designed to destroy, incapacitate, harass, or
distract. It may incorporate materials from military sources, but is normally devised from
non-military components.

4, As used herein, the term “explosively formed penetrator” (EFP), also known as an
explosively formed projectile, a self-forging warhead, or a self-forging fragment, means.a special
type of shaped charge designed to penetrate armor effectively at stand-off distances.

5. Venue is proper in the Eastern District of Michigan.

6. At all relevant times there existed an organization known as the “HUTAREE,”
based in Lenawee County Michigan, which was an anti-government militia organization which
advocated and prepared for violence against local, state, and federal law enforcement. The
HUTAREE’s goals included opposing by force the authority of the Government of the United
States and preventing, hindering, and delaying by force the execution of United States law,
including federal laws regarding the sale, purchase, receipt, possession, and use of firearms and
destructive devices.

7. The defendants, DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,”
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a.k.a. “Captain Hutaree,” DAVID BRIAN STONE, JR., a.k.a. “Junior,” JOSHUA MATTHEW
STONE, a.k.a. “Josh,” TINA MAE STONE, JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,”a.k.a,
“Az,” a.k.a. “Mouse,” a.k.a. “Jason Z. Charles,” MICHAEL DAVID MEEKS, a.k.a. “Mikey,”
THOMAS WILLIAM PIATEK, KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,” JACOB J.
WARD, a.k.a. “Jake,” a.k.a. “Nate,” a.k.a. “Guhighllo,” and others known and unknown to the
Grand Jury, were members of the HUTAREE. Some HUTAREE members are identifiable by
their tiger stripe camouflage uniforms with a distinct shoulder patch which contains a black
cross, two brown vertical pillars which form the letter “H” in combination with the black cross,
two red spears, a brown V shape at the base of the cross symbolizing the supporting hands of the
HUTAREE, and the initials “CCR.”

8. The HUTAREE identifies as its enemy a group it calls "the Brotherhood." To the
HUTAREE, the Brotherhood includes: (A) federai law enforcement agencies and their
employees, and (B) state and local law enforcement agencies and their employees, whom the
HUTAREE deems to be "foot soldiers" of the federal government. The HUTAREE views these
enemies as participants in the "New World Order," which the HUTAREE intends to oppose by
force. The HUTAREE also intends to oppose by force any individual, organization, or
government body that dees not share its beliefs.

9, At all relevant times, defendant DAVID BRIAN STONE has been the principal
leader of the HUTAREE. He has organized the HUTAREE into two operational units, one led by
himself and the other led by one of his sons, defendant JOSHUA MATTHEW STONE. Another

son, defendant DAVID BRIAN STONE, Jr., has served as an explosives instructor and

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demonstrator, and participated in operational planning and training. Defendant DAVID BRIAN
STONE has also established a HUTAREE rank structure, assigned HUTAREE alias names to
members of the organization, and created HUTAREE words for various military formations and
maneuvers. Defendant DAVID BRIAN STONE assigned to himself the rank of “Radok,”
meaning Commander of the HUTAREE, for which his alias name “RD” is an abbreviation.

10. At all relevant times, defendants TINA MAE STONE, JOSHUA JOHN
CLOUGH, MICHAEL DAVID MEEKS, THOMAS WILLIAM PIATEK, KRISTOPHER T.
SICKLES, and JACOB J. WARD, were members of the HUTAREE.

Il. Since at least 2008, the HUTAREE has met regularly to conduct military-style
training in Lenawee County, located in the Eastern District of Michigan, and elsewhere. The
purpose of this training has been to plan and prepare for violence against the HUTAREE’s
enemies. This purpose includes opposing by force the authority of the Government of the United
States, and preventing, hindering, and delaying by force the execution of United States law. The
HUTAREE have trained with machineguns, short-barreled firearms, and explosive devices.
HUTAREE training has included weapons proficiency drills, patrolling and reconnaissance
exercises, close quarter battle drills, and “man-down’” drills. The HUTAREE have also trained to
set up prepared defensive fighting positions, ambush kill zones, and storage bunkers, and they
have received instruction and demonstrations regarding the manufacturing and use of destructive
devices and weapons of mass destruction.

12. On the weekend of March 27-28, 2010, federal agents executed search warrants at

numerous locations in Michigan, Ohio, and Indiana, including the residence of defendants

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DAVID BRIAN STONE, JOSHUA MATTHEW STONE, and TINA MAE STONE in Clayton,
Michigan. This residence was used as the base for many of the meetings and training sessions of
the HUTAREE. Agents seized numerous items from the Stone residence and vehicles located
there, and from the other locations they searched. The items seized included machineguns,
unregistered short-barreled rifles, numerous other firearms, over 148,000 rounds of ammunition,
a variety of military equipment, and a variety of explosives and related items capable of being

readily assembled to build several types of destructive devices including IEDs.

COUNT ONE
(18 U.S.C. § 2384 — SEDITIOUS CONSPIRACY)

D-1 DAVID BRIAN STONE, a.k.a. “RD,”a.k.a. “Joe Stonewall,”
a.k.a. “Captain Hutaree,”

D-2 DAVID BRIAN STONE, JR., a.k.a. “Junior,”

D-3. JOSHUA MATTHEW STONE, a.k.a. “Josh,”

D-4 TINA MAE STONE,

D-5 JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,” a.k.a. “Az,”
a.k.a. “Mouse,” a.k.a. “Jason 7. Charles,”

D-6 MICHAEL DAVID MEEKS, a.k.a. “Mikey,”

D-7 THOMAS WILLIAM PIATEK,

D-8  KRISTOPHER T, SICKLES, a.k.a. “Pale Horse,”

D-9 JACOB J. WARD, a.k.a. “Jake,” a.k.a. “Nate,”
a.k.a. “Guhighllo”

l. The General Allegations are incorporated by reference, as if set forth in full
herein,

2. From on or about August 16, 2008, and continuing thereafter up to and including
March 29, 2010, in the Eastern District of Michigan, and elsewhere, the defendants, DAVID

BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,” a.k.a, “Captain Hutaree,” DAVID BRIAN
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STONE, JR., a.k.a. “Junior,” JOSHUA MATTHEW STONE, a.k.a. “Josh,” TINA MAE
STONE, JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,”a.k.a. “Az,” a.k.a. “Mouse,” a.k.a. “Jason
Z. Charles,” MICHAEL DAVID MEEKS, a.k.a. “Mikey,” THOMAS WILLIAM PIATEK,
KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,” and JACOB J. WARD, a.k.a. “Jake,” a.k.a.
“Nate,” a.k.a. “Guhighllo,” knowingly conspired, confederated, and agreed with each other and
with other persons known and unknown to the Grand Jury, to oppose by force the authority of the
Government of the United States, and to prevent, hinder, and delay by force the execution of
United States law, including federal laws regarding the sale, purchase, receipt, possession, and

use of firearms and destructive devices.

THE MEANS AND METHODS USED TO FURTHER
THE OBJECTS OF THE CONSPIRACY

3. The HUTAREF’s general plan was to commit some violent act to draw the
attention of law enforcement or government officials, in order to prompt a response by law
enforcement. HUTAREE members discussed a variety of such violent acts, included killing a
member of law enforcement after a traffic stop, killmg a member of law enforcement and his or
her family at home, ambushing a member of law enforcement in a rural community, luring a
member of law enforcement with a false 911 emergency call and then killing him or her, and
killing a member of law enforcement and then attacking the funeral procession motorcade with
weapons of mass destruction. The HUTAREE intended that such acts would intimidate and
demoralize law enforcement, thereby diminishing its ranks and rendering it ineffective.

4, The HUTAREE’s general plan was further that, once violent action had been
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taken and a response by law enforcement had been provoked, HUTAREE members would retreat
to one of several “rally points” where the HUTAREE would conduct operations against the
government and be prepared to defend in depth with trip-wired and command detonated anti-
personnel IEDs, ambushes, and prepared fighting positions. The HUTAREE believed and
intended that such an engagement would be a catalyst for a more widespread uprising against the
United States Government.

5. The conspirators planned and trained for armed conflict against local, state, and
federal law enforcement by engaging in the following means and methods, among others:

a. Conspirators acquired firearms, including at least five machineguns and at least three
unregistered short-barreled rifles; magazines and ammunition; explosives and other components
for destructive devices; uniforms; communications equipment; supply vehicles; and medical and
other supplies.

b. Conspirators engaged in military-style training in anticipation of the planned military
operations. During these training sessions, each participant carried and used at least one firearm,
which sometimes included machineguns and short-barreled rifles. This training has also included
instruction and demonstrations regarding the manufacturing and use of destructive devices and
weapons of mass destruction.

¢. Defendant DAVID BRIAN STONE planned with others the killing of an unidentified
member of local law enforcement. Defendant DAVID BRIAN STONE intended that, as a result,
law enforcement officers from throughout the nation would be drawn to and gather in the Eastern

District of Michigan for the funeral. The HUTAREE would then attack law enforcement vehicles
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during the funeral procession with homemade mortars, IEDs, and EFPs.

d. In furtherance of this plan, DAVID BRIAN STONE obtained information about IEDs
and EFPs from the internet and emailed diagrams of such devices to a person he believed capable
of manufacturing the devices. Also in furtherance of this plan, defendant JOSHUA MATTHEW
STONE and others provided this person with materials necessary for the manufacturing of such
devices, at the direction of defendant DAVID BRIAN STONE. Unknown to the defendants, this
person was an undercover government agent who had infiltrated the HUTAREE and had shown
them that he was capable of manufacturing the IEDs, EFPs, and other destructive devices that
they wanted to use.

e. On or about January 9, 2010, during a training exercise at the STONE home in Clayton,
Michigan, defendants DAVID BRIAN STONE and JOSHUA MATTHEW STONE planned and
announced a covert reconnaissance exercise scheduled for April 2010. They planned that during
this exercise anyone who happened upon the exercise, including innocent civilians, who did not
acquiesce to HUTAREE demands, could be killed. DAVID BRIAN STONE further advised his
conspirators that HUTAREE training scheduled for February and March, 2010, would be devoted
to preparing for the reconnaissance exercise. Also present during this exercise were defendants
TINA MAE STONE, JOSHUA JOHN CLOUGH, MICHAEL DAVID MEEKS, KRISTOPHER
T. SICKLES, and JACOB J. WARD.

f. On or about February 6, 2010, defendants DAVID BRIAN STONE, JOSHUA
MATTHEW STONE, MICHAEL DAVID MEEKS, THOMAS WILLIAM PIATEK, and

JOSHUA JOHN CLOUGH, and the undercover agent described in paragraph 5(d), above,
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attempted to travel together to Kentucky to attend a summit of militia groups convened by
DAVID BRIAN STONE. The purpose of the summit was to facilitate better communications,
cooperation, and coordination between the various militias. In anticipation of the summit,
DAVID BRIAN STONE had solicited the undercover government agent to provide him with
four anti-personnel IEDs to take with them te the summit. Weather conditions prevented them
from reaching their destination. During the trip DAVID BRIAN STONE identified law
enforcement officers in a specific community near his residence, and one officer in particular, as
potential targets of attack. During that trip, conspirators, including DAVID BRIAN STONE,
JOSHUA MATTHEW STONE, MICHAEL DAVID MEEKS, THOMAS WILLIAM PIATEK,
and JOSHUA JOHN CLOUGH, brought with them a large quantity of ammunition and firearms,
including at least one machinegun and at least one unregistered short-barreled rifle.

g. On or about February 20, 2010, defendants DAVID BRIAN STONE, DAVID BRIAN
STONE, JR., JOSHUA MATTHEW STONE, MICHAEL DAVID MEEKS, KRISTOPHER T.
SICKLES, JACOB J. WARD and others gathered in Lenawee County in the Eastern District of
Michigan and engaged in training devoted to preparing for the planned covert reconnaissance
exercise describe above. Each of the conspirators in attendance carried and used at least one
firearm.

h. On or about March 27, 2010, DAVID BRIAN STONE and several other HUTAREE
members were arrested by law enforcement. As part of the conspiracy, the HUTAREE had
established a written Protocol for how to respond to situations that threatened their organization,

including law enforcement contacts. This Protocol included instructions for contacting and

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notifying members and other militia groups, deciding whether to “GO HOT,” and reporting to
“rally points” for armed defense. Upon learning of the arrest of his father and other HUTAREE
members, defendant JOSHUA MATTHEW STONE attempted to carry out the HUTAREE’s
Protocol by contacting and alerting, and attempting to contact and alert, HUTAREE members
and members of other militia or paramilitary organizations, by gathering together with
HUTAREE members and associates, by proceeding to a pre-determined “rally point,” by arming
himself and his associates, by preparing to engage law enforcement, and by engaging in a stand-
off with law enforcement that continued until March 29, 2010.

In violation of Section 2384 of Title 18 of the United States Code.

COUNT TWO

(18 U.S.C, § 2332a(a)(2) - CONSPIRACY TO USE
WEAPONS OF MASS DESTRUCTION)

D-1 DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,”
a.k.a. “Captain Hutaree,”

D-2. DAVID BRIAN STONE, JR., a.k.a. “Junior,”

D-3 JOSHUA MATTHEW STONE, a.k.a. “Josh,”

D-4 TINA MAE STONE,

D-5 JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,” a.k.a. “Az,”
a.k.a. “Mouse,” a.k.a. “Jason 7. Charles,”

D-6 MICHAEL DAVID MEEKS, a.k.a. “Mikey,”

D-7 THOMAS WILLIAM PIATEK,

D-§  KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,”

D-9 JACOB J. WARD, a.k.a. “Jake,” a.k.a. “Nate,”
a.k.a. “Guhighilo”

I. The General Allegations, as weil as the allegations of Count One of this

Superseding Indictment, are incorporated by reference as if set forth in full herein,

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2. From in or before June, 2009, and continuing thereafter up to and including
March 27, 2010, in the Eastern District of Michigan, , and elsewhere, the defendants, DAVID
BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,” a.k.a. “Captain Hutaree,” DAVID BRIAN
STONE, JR., a.k.a. “Junior,” JOSHUA MATTHEW STONE, a.k.a. “Josh,” TINA MAE
STONE, JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,”a.k.a. “Az,” a.k.a. “Mouse,” a.k.a. “Jason
Z. Charles,” MICHAEL DAVID MEEKS, a.k.a. “Mikey,” THOMAS WILLIAM PIATEK,
KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,” and JACOB J. WARD, a.k.a. “Jake,” a.k.a.
“Nate,” a.k.a. “Guhighllo,” conspired to use, without lawful authority, one or more weapons of
mass destruction, specifically explosive bombs, explosive mines, and other similar explosive
devices, against persons and property within the United States, that is, local, state, and federal
law enforcement officers and vehicles owned and used by local, state, and federal law
enforcement agencies.

3, As part of the conspiracy described in Paragraph Two:

a. The conspirators used facilities of interstate commerce, including email,
the internet, and telephones;

b. Property which was the target of the conspiracy, that is, vehicles owned
and used by local, state, and federal law enforcement agencies, was used in interstate and foreign
commerce and in an activity that affects interstate and foreign commerce;

c. One or more perpetrators traveled in and caused another to travel in
interstate or foreign commerce in furtherance of the offense; and

d. The offense, or the results of the offense, would have affected interstate or

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foreign commerce.

In violation of Section 2332a(a)(2) of Title 18 of the United States Code.

COUNT THREE

(18 US.C. § 842(p)(2) - TEACHING AND DEMONSTRATING USE OF EXPLOSIVES,
DESTRUCTIVE DEVICES, AND WEAPONS OF MASS DESTRUCTION)

D-I DAVID BRIAN STONE, a.k.a. “RD,”a.k.a. “Joe Stonewall,” a.k.a. “Captain Hutaree,”
D-2. DAVID BRIAN STONE, JR., a.k.a. “Junior”

l, The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.

2. On or about June 13, 2009, in the Eastern District of Michigan, defendants
DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,” a.k.a. “Captain Hutaree,” and
DAVID BRIAN STONE, JR., a.k.a. “Junior,”

A. Taught and demonstrated the making and use of an explosive, a
destructive device, and a weapon of mass destruction, and distributed information pertaining, in
whole or in part, to the manufacture and use of an explosive, a destructive device, and a weapon
of mass destruction, with the intent that the teaching, demonstration, and information be used for
and in furtherance of an activity that constitutes a federal crime of violence, that is, Seditious
Conspiracy, as alleged in Count One of this Superseding Indictment and Conspiracy to Use
Weapons of Mass Destruction, as alleged in Count Two of this Superseding Indictment; and

B. Taught and demonstrated to one or more persons the making and use of an

explosive, a destructive device, and a weapon of mass destruction, and distributed to one or more

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persons, information pertaining, in whole or in part, to the manufacture or use of an explosive, a
destructive device, and a weapon of mass destruction, knowing that such person or persons
intended to use the teaching, demonstration, and information for and in furtherance of an activity
that constitutes a federal crime of violence, that is, Seditious Conspiracy, as alleged in Count One
of this Superseding Indictment, and Conspiracy to Use Weapons of Mass Destruction, as alleged
in Count Two of this Superseding Indictment.

In violation of Section 842(p)(2) of Title 18 of the United States Code.

COUNT FOUR

(18 U.S.C. § 924(c)(1) - USE AND CARRYING OF A FIREARM
DURING AND IN RELATION TO A CRIME OF VIOLENCE)

D-I DAVID BRIAN STONE, a.k.a. “RD,’a.k.a. “Joe Stonewall,”
a.k.a. “Captain Hutaree,”

D-2 DAVID BRIAN STONE, JR., a.k.a. “Junior,”

D-3 JOSHUA MATTHEW STONE, a.k.a. “Josh,”

D-4 TENA MAE STONE,

D-5 JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,” a.k.a. “Az,”
a.k.a. “Mouse,” a.k.a. “Jason Z. Charles,”

D-6 MICHAEL DAVID MEEKS, a.k.a. “Mikey,”

D-7 THOMAS WILLIAM PIATEK, ”

D-8 KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,”

D-9 JACOB J. WARD, a.k.a. “Jake,” a.k.a. “Nate,”
a.k.a. “Guhighllo”

1. The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.
2. On or about August 22, 2009, in the Eastern District of Michigan, defendants

DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,” a.k.a. “Captain Hutaree,” DAVID

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BRIAN STONE, JR., a.k.a. “Junior,” JOSHUA MATTHEW STONE, a.k.a. “Josh,” TINA MAE
STONE, JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,’a.k.a. “Az,” a.k.a. “Mouse,” a.k.a. “Jason
Z. Charles,’ MICHAEL DAVID MEEKS, a.k.a. “Mikey,” THOMAS WILLIAM PIATEK,
KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,” and JACOB J. WARD, a.k.a. “Jake,” a.k.a.
“Nate,” a.k.a. “Guhighllo,” knowingly used and carried firearms during and in relation to one or
more crimes of violence for which they may be prosecuted in a court of the United States, that is,
Seditious Conspiracy and Conspiracy to Use Weapons of Mass Destruction, as alleged in Counts
One and Two of this Superseding Indictment.

In violation of Section 924(c)(1) of Title 18, United States Code.

COUNT FIVE

(18 U.S.C. § 924(c)(1) — POSSESSING A FIREARM IN
FURTHERANCE OF A CRIME OF VIOLENCE)

D-| DAVID BRIAN STONE, a.k.a. “RD, a.k.a. “Joe Stonewall,”
a.k.a. “Captain Hutaree,”

D-2. DAVID BRIAN STONE, JR., a.k.a. “Junior,”

D-3 JOSHUA MATTHEW STONE, a.k.a. “Josh,”

D-4 TINA MAE STONE,

D-5 JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,” a.k.a. “Az,”
a.k.a. “Mouse,” a.k.a. “Jason Z. Charles,”

D-6 MICHAEL DAVID MEEKS, a.k.a. “Mikey,”

D-7 THOMAS WILLIAM PIATEK,

D-8 KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,”

D-9 JACOB J. WARD, a.k.a. “Jake,” a.k.a. “Nate,”
a.k.a. “Guhighllo”

1. The General Allegations, as well as the allegations of Counts One and Two of this

Superseding Indictment, are incorporated by reference as if set forth in full herein.

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2. On or about August 22, 2009, in the Eastern District of Michigan, defendants
DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,” a.k.a. “Captain Hutaree,” DAVID
BRIAN STONE, JR., a.k.a. “Junior,” JOSHUA MATTHEW STONE, a.k.a. “Josh,” TINA MAE
STONE, JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,’a.k.a. “Az,” a.k.a. “Mouse,” a.k.a. “Jason
Z. Charles,” MICHAEL DAVID MEEKS, a.k.a. “Mikey,” THOMAS WILLIAM PIATEK,
KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,” and JACOB J. WARD, a.k.a. “Jake,” ak.a.
“Nate,” a.k.a. “Guhighllo,” knowingly possessed firearms in furtherance of one or more crimes
of violence for which they may be prosecuted in a court of the United States, that is, Seditious
Conspiracy and Conspiracy to Use Weapons of Mass Destruction, as alleged in Counts One and
Two of this Superseding Indictment.

In violation of Section 924(c)(1) of Title 18, United States Code.

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COUNT SIX

§ 924(c)(1) - USE AND CARRYING OF A FIREARM
DURING AND IN RELATION TO A CRIME OF VIOLENCE)

D-1! DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall.”

a.k.a. “Captain Hutaree,”

D-2. DAVID BRIAN STONE, JR., a.k.a. “Junior,”
D-3) JOSHUA MATTHEW STONE, a.k.a. “Josh,”
D-5 JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,” a.k.a. “Az,”

a.k.a. “Mouse,” a.k.a. “Jason Z. Charles,”

D-6 MICHAEL DAVID MEEKS, a.k.a. “Mikey,”
D-8 KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,”
D-9 JACOB J. WARD, a.k.a. “Jake,” a.k.a. “Nate,”

a.k.a. “Guhighilo”

1, The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.

2, On or about February 20, 2010, in the Eastern District of Michigan, defendants
DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,” a.k.a, “Captain Hutaree,” DAVID
BRIAN STONE, JR., a.k.a. “Junior,” JOSHUA MATTHEW STONE, a.k.a. “Josh,” JOSHUA
JOHN CLOUGH, a.k.a “Azzurlin,”’a.k.a. “Az,” a.k.a. “Mouse,” a.k.a. “Jason 7. Charles,”
MICHAEL DAVID MEEKS, a.k.a. “Mikey,” KRISTOPHER T. SICKLES, and JACOB J.
WARD, a.k.a. “Jake,” a.k.a. “Nate,” a.k.a. “Guhighllo,” knowingly used and carried firearms
during and in relation to one or more crimes of violence for which they may be prosecuted in a
court of the United States, that is, Seditious Conspiracy and Conspiracy to Use Weapons of Mass

Destruction, as alleged in Counts One and Two of this Superseding Indictment.

In violation of Section 924(c)(1) of Title 18, United States Code.

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COUNT SEVEN

(18 U.S.C. § 924(c)(1) — POSSESSING A FIREARM IN
FURTHERANCE OF A CRIME OF VIOLENCE)

D-l DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,”

a.k.a. “Captain Hutaree,”

D-2. DAVID BRIAN STONE, JR., a.k.a. “Junior,”
D-3 JOSHUA MATTHEW STONE, a.k.a. “Josh,”
D-5 JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,” a.k.a, “Az,”

a.k.a. “Mouse,” a.k.a. “Jason Z. Charles,”

D-6 MICHAEL DAVID MEEKS, a.k.a. “Mikey,”
D-8 KRISTOPHER T. SICKLES, a.k.a. “Pale Horse,”
D-9 JACOB J. WARD, a.k.a. “Jake,” a.k.a. “Nate,”

a.k.a. “Guhighllo”

1. The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.

2. On or about February 20, 2010, in the Eastern District of Michigan, defendants
DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,” a.k.a. “Captain Hutaree,” DAVID
BRIAN STONE, JR., a.k.a. “Junior,” JOSHUA MATTHEW STONE, a.k.a. “Josh,” JOSHUA
JOHN CLOUGH, a.k.a “Azzurlin,”’a.k.a. “Az,” a.k.a. “Mouse,” a.k.a. “Jason Z. Charles,”
MICHAEL DAVID MEEKS, a.k.a. “Mikey,” KRISTOPHER T. SICKLES, and JACOB J.
WARD, a.k.a. “Jake,” a.k.a. “Nate,” a.k.a. “Guhighllo,” knowingly possessed firearms in
furtherance of one or more crimes of violence for which they may be prosecuted in a court of the
United States, that is, Seditious Conspiracy and Conspiracy to Use Weapons of Mass

Destruction, as alleged in Counts One and Two of this Superseding Indictment.

In violation of Section 924(c)(1) of Title 18, United States Code.

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COUNT EIGHT
(18 U.S.C. §§ 922(0), 924(a)(2) — POSSESSION OF MACHINEGUN)

D-| DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,”

a.k.a. “Captain Hutaree,”

1. The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.

2. On or about March 27, 2010, in the Eastern District of Michigan, defendant
DAVID BRIAN STONE, a.k.a. “Joe Stonewall,” a.k.a. “Captain Hutaree,” knowingly possessed
a machinegun, that is, a Double Star Corp., .223 Remington/5.56mm, caliber rifle, Model Star-
15, serial number DS17822.

In violation of Sections 922(0)} and 924(a){2) of Title 18, United States Code.

COUNT NINE
(18 U.S.C. §§ 922(0), 924(a)(2) - POSSESSION OF MACHINEGUN)

D-l DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,”
a.k.a. “Captain Hutaree,”

l. The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.
2. On or about March 27, 2010, in the Eastern District of Michigan, defendant

DAVID BRIAN STONE, a.k.a. “Joe Stonewall,” a.k.a. “Captain Hutaree,” knowingly possessed

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a machinegun, that is, a Bushmaster .223 caliber rifle, Model XM15-E2S, serial number
L212998.

In violation of Sections 922(0) and 924(a)(2) of Title 18, United States Code.

COUNT TEN
(18 U.S.C. §§ 922(0), 924(a)(2) - POSSESSION OF MACHINEGUN)

D-3 JOSHUA MATTHEW STONE, a.k.a. “Josh,”

1. The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.

2. On or about March 27, 2010, in the Eastern District of Michigan, defendant
JOSHUA MATTHEW STONE, a.k.a. “Josh,” knowingly possessed a machinegun, that is, a
Double Star Corp., .223 caliber/5.56 mm. rifle, Model Star-15, serial number DO006088.

In violation of Sections 922(0) and 924(a\(2) of Title 18, United States Code.

COUNT ELEVEN
(18 U.S.C. §§ 922(0), 924(a)(2) - POSSESSION OF MACHINEGUN)

D-5 JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,”
a.k.a. “Az,” a.k.a, “Mouse,” a.k.a. “Jason Z. Charles,”

1. The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.
2. On or about March 27, 2010, in the Eastern District of Michigan, defendant

JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,” a.k.a. “Az,” a.k.a. “Mouse,” a.k.a, “Jason 7.

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Charles,” knowingly possessed a machinegun, that is, a Mega Machine Shop, Inc., .223
caliber/5.56 mm. rifle, Model MMS, serial number MGA0104.

In violation of Sections 922(0) and 924(a)(2) of Title 18, United States Code.

COUNT TWELVE
(18 U.S.C. $§ 922(0), 924(a)(2) - POSSESSION OF MACHINEGUN)

D-5 JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,”
a.k.a. “Az,” a.k.a. “Mouse,” a.k.a. “Jason 7. Charles,”

1. The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.

2. On or about March 27, 2010, in the Eastern District of Michigan, defendant
JOSHUA JOHN CLOUGH, a.k.a “Azzurlin,”a.k.a. “Az,” a.k.a. “Mouse,” a.k.a. “Jason Z.
Charles,” knowingly possessed a machinegun, that is, a Kalashnikov-style, 5.45x39mm caliber
rifle, manutacturer unknown, no serial number, with a folding stock.

In violation of Sections 922(0) and 924(a)(2) of Title 18, United States Code.

COUNT THIRTEEN
(26 U.S.C. $§ 5841, 5861(d) and 5871 — POSSESSION OF A FIREARM NOT
REGISTERED IN THE NATIONAL FIREARMS REGISTRATION
AND TRANSFER RECORD)

D-l DAVID BRIAN STONE, a.k.a. “RD,” a.k.a. “Joe Stonewall,”
a.k.a. “Captain Hutaree,”

1. The General Allegations, as well as the allegations of Counts One and Two of this

Superseding Indictment, are incorporated by reference as if set forth in full herein.

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2. On or about March 27, 2010, in the Eastern District of Michigan, defendant
DAVID BRIAN STONE knowingly possessed a “firearm” as that term is defined in Title 26,
United States Code, Sections 3845(c) and 5845(a)(3), that is, a rifle which had a barrel of less
than 16 inches in length, namely a Double Star Corp., .223 Remington/5.56 mm. caliber rifle,
Model Star-15, serial DO006086, which had a barrel length of approximately 10 1/4 inches,
which firearm was not registered to him in the National Firearms Registration and Transfer
Record.

In violation of Sections 5841, 5861(d) and 5871 of Title 26, United States Code.

COUNT FOURTEEN
(26 U.S.C. §§ 5841, 5861(d) and 5871 — POSSESSION OF A FIREARM NOT
REGISTERED IN THE NATIONAL FIREARMS REGISTRATION
AND TRANSFER RECORD)

D-2. DAVID BRIAN STONE, JR., a.k.a. "Junior,"

1. The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.

2. On or about March 27, 2010, in the Eastern District of Michigan, defendant
DAVID BRIAN STONE, Jr., a-k.a. "Junior," knowingly possessed a "firearm" as that term is
defined in Title 26, United States Code, Sections 5845(c) and 5845(a)(3), that is, a rifle which

had a barrel of less than 16 inches in length, namely an E.A. Company, .223 caliber/5.56 mm.

rifle, Model J-15, serial number EA11573, which had a barrel length of approximately 11 inches,

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which firearm was not registered in the National Firearms Registration and Transfer Record.

In violation of Sections 5841, 5861(d) and 5871 of Title 26, United States Code.

COUNT FIFTEEN
(26 U.S.C. §§ 5841, 5861(d) and 5871 — POSSESSION OF A FIREARM NOT
REGISTERED IN THE NATIONAL FIREARMS REGISTRATION
AND TRANSFER RECORD)
D-3. JOSHUA MATTHEW STONE, a.k.a. “Josh,”

1, The General Allegations, as well as the allegations of Counts One and Two of this
Superseding Indictment, are incorporated by reference as if set forth in full herein.

2. On or about March 27, 2010, in the Eastern District of Michigan, defendant
JOSHUA MATTHEW STONE knowingly possessed a “firearm” as that term is defined in Title
26, United States Code, Sections 5845(c) and 5485(a)(3), that is, a rifle which had a barrel of less
than 16 inches in length, namely a Sturm, Ruger & Co., .22 caliber rifle, Model 10/22 Carbine,
serial number 1 13-92448, which had a barrel length of approximately 14 % inches, which firearm

was not registered to him in the National Firearms Registration and Transfer Record.

In violation of Sections 5841, 5861(d) and 5871 of Title 26, United States Code.

CRIMINAL FORFEITURE ALLEGATIONS

(18 U.S.C. §§ 981(aX 1G), 924(d); 26 U.S.C. § 5872;
28 U.S.C. § 2461(c); 49 U.S.C. § 80303)

1. The allegations contained in Counts 2 through 15 of this Second Superseding

Indictment are hereby re-alleged and incorporated by reference for the purpose of alleging

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forfeiture pursuant to Title 18, United States Code, Sections 981(a)(1)(G), 924(d), Title 28,
United States Code, Section 2461(c) and Title 49, United States Code, Section 80303.

2. The violations of Title 18, United States Code, Section 2332a alleged in Count 2
of this Second Superseding Indictment are Federal crimes of terrorism, as defined in 18 U.S.C. §
2332b(g)(5), against the United States, citizens and residents of the United States, and their
property.

3. Upon conviction of one or more of the offenses in violation of Title 18, United
States Code, Section 2332a alleged in Count 2 of this Second Superseding Indictment,
defendants shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 981(a)(1)(G){i), (ii) and/or (iii) and Title 28, United States Code, Section 2461(c), all
right, title, and interest in all assets, foreign and domestic, including assets acquired and
maintained with the intent and for the purpose of supporting, planning, conducting, and
concealing a Federal crime of terrorism against the United States, citizens and residents of the
United States, and their property, and or assets derived from, involved in, and used and intended
to be used to commit a Federal crime of terrorism against the United States, citizens and
residents of the United States, and their property.

4, Upon conviction of the offense in violation of Title 18 United States Code,
Section 842(p)(2), alleged in Count 3 of the Second Superseding Indictment, defendants shall
forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a})(1)(G)(i), (a1)
and/or (111) and Title 28, United States Code, Section 2461(c), all right, title, and interest in all

assets, foreign and domestic, including assets acquired and maintained with the intent and for the

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purpose of supporting, planning, conducting, and concealing a Federal crime of terrorism against
the United States, citizens and residents of the United States, and their property, and or assets
derived from, involved in, and used and intended to be used to commit a Federal crime of
terrorism against the United States, citizens and residents of the United States, and their property.

5, Upon conviction of the offenses in violation of Title 18, United States Code,
Section 924(c)(1) alleged in Counts 4 through 7 of the Second Superseding Indictment,
defendants shall forfeit to the United States, pursuant to Title 18, United States Code, Section
924(d)(1) and Title 28, United States Code, Section 2461(c), any firearm or ammunition involved
in or used in any knowing violation of those offenses.

6. Upon conviction of the offenses in violation of Title 18, United States Code,
Sections 922(0) and 924(a)(2), alleged in Counts 8 through 12 of the Second Superseding
Indictment, defendants shall forfeit to the United States, pursuant to Title 18, United States Code,
Section 924(d)(1) and Title 28, United States Code, Section 2461(c), any firearm or ammunition
invelved in or used in any knowing violation of those offenses.

7. Upon conviction of the offenses in violation of Title 26, United States Code,
Sections 5841, 5861(d) and 5871, alleged in Counts 13 through 15_of the Second Superseding
Indictment, defendants shall forfeit to the United States, pursuant to Title 18, United States Code,
Section 924(d)(1), Title 26, United States Code, Section 5872, Title 28, United States Code,
Section 2461 (c) and Title 49, United States Code, Section 80303, any firearm or ammunition
involved in or used in any knowing violation of those offenses.

8. Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title

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18, United States Code, Section 982(b), defendants shall forfeit substitute property, up to the

value of the properties described in paragraphs 2 through 6 above, if, by any act or omission of

the defendant, the property described in paragraphs 2 through 6 cannot be located upon the

exercise of due diligence; has been transferred, sold to or deposited with a third party; has been

placed beyond the jurisdiction of the court; has been substantially diminished in value; or has

been commingled with other property which cannot be divided without difficulty.

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United States Attorney
Eastern District of Michigan

s/ Sheldon N. Light

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Dated: February 10, 2011

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THIS IS A TRUE BILL

3/Grand Jury Foreperson
GRAND JURY FOREPERSON

s/Joseph L. Falvey, Jr.

JOSEPH L. FALVEY, JR. (P51171)
Assistant United States Attorney
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Detroit, MI 48226

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s/Jonathan Tukel

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United States District Court Criminal Case Cover Sheet Case Number
Eastern District of Michigan 10-20123

 

 

 

NOTE: it is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

Reassignment/Recusal Information This matter was opened in the USAO prior to August 15, 2008 [ ]

 

 

 

Companion Case Information Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
BH Yes C} No AUSA’s Initials: SNL

 

 

 

Case Title: USA v. David Brian Stone et al

 

County where offense occurred : Lenawee

 

 

 

 

Check One: & Felony C0 Misdemeanor + = _. O Petty
___Indictment/___ Information --- no prior complaint. a
____Indictment/___Information --- based upon prior complaint [Case number: ‘}.
_X_Indictment/____Information --- based upon LCrR §7.10 (d) [Completé&Superseding section below].

Superseding Case Information
Superseding to Case No: 10-20123 Judge: Roberts

O Original case was terminated; no additional charges or defendants.

O Corrects errors; no additional charges or defendants.

C Involves, for plea purposes, different charges or adds counts.

bg Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable
David Brian Stone, David Brian Stone, Jr., Joshua Stone — Criminal Forfeiture Allegations
Tina Mae Stone, Joshua Clough, Michael Meeks - Criminal Forfeiture Allegations
Thomas Piatek, Kristopher Sickles, Jacob Ward _ Criminal Forfeiture Allegations

Joshua Clough _ 18 U.S.C. § § 922(0), 924(a)(2)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.
February 10, 2011 vf
Date SHEYPON N. LIGHTZ

Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, Ml 48226-3277
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* Gompanion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same cr related parties are present, and the cases arise out of the

same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.
10/13/09
